






IN THE COURT OF APPEALS, THIRD DISTRICT OF TEXAS,



AT AUSTIN



                       




NO. 3-92-274-CR




MARK ANDREW NEATHERY,



	APPELLANT


vs.




THE STATE OF TEXAS,



	APPELLEE


                       



FROM THE DISTRICT COURT OF CALDWELL COUNTY, 22ND JUDICIAL DISTRICT





NO. 91-242, HONORABLE ROBERT T. PFEUFFER, JUDGE



                       




PER CURIAM


	This is an appeal from a judgment of conviction for delivery of a controlled
substance, cocaine.  Punishment was assessed at confinement for 10 years and a $5000 fine,
probated.

	Appellant and the State have filed a joint motion to withdraw the appeal.  No
decision of this Court has been delivered.  The motion is granted and the appeal is dismissed.  See
Tex. R. App. P. Ann. 59(b) (Pamph. 1992).



[Before Chief Justice Carroll, Justices Aboussie and B. A. Smith; Justice Aboussie

   not participating]

Dismissed On Joint Motion

Filed:  August 12, 1992

[Do Not Publish]









August 12, 1992






Mr. George Dunn

107 E. San Antonio 

Lockhart, Texas  78644


Honorable Charles R. Kimbrough

Criminal District Attorney

Caldwell County Courthouse

P. O. Box 869

Lockhart, Texas  78644



					Re:	No. 3-92-274-CR--Mark Andrew Neathery
v. The State of Texas

						(t/c no. 91-242)


Counsel:


In accordance with Rule 91, Texas Rules of Appellate Procedure, enclosed is a copy of the
opinion and judgment handed down by this Court on this date in the above cause.


The Court's mandate has been issued this date to the clerk of the trial court under separate cover.


						Very truly yours,


						W. KENNETH LAW, CLERK



						By

							Ora Aranda, Deputy

Enclosures


xc:	State Prosecuting Attorney

	Clerk, Court of Criminal Appeals

	Honorable Robert T. Pfeuffer, District Judge

	Ms. Emma Jean Schulle, District Clerk


MR. GEORGE DUNN

107 E. SAN ANTONIO 

LOCKHART TX  78644

HONORABLE CHARLES R. KIMBROUGH

CRIMINAL DISTRICT ATTORNEY

CALDWELL COUNTY COURTHOUSE

P. O. BOX 869

LOCKHART TX  78644

HONORABLE ROBERT T PFEUFFER

JUDGE PRESIDING

22ND JUDICIAL DISTRICT COURT

CALDWELL COUNTY COURTHOUSE

LOCKHART TX  78644

MS EMMA JEAN SCHULLE

DISTRICT CLERK

CALDWELL COUNTY

P O BOX 749

LOCKHART TX  78644

TRIAL COURT NO. 91-242



THE STATE OF TEXAS.


TO THE 22ND DISTRICT COURT of CALDWELL COUNTY - GREETINGS:


	Before our COURT OF APPEALS, on the 12th of August A.D. 1992, the cause upon appeal to
revise or reverse your Judgment between




					MARK ANDREW NEATHERY, Appellant,

No. 3-92-274-CR				vs.     

					THE STATE OF TEXAS, Appellee,


was determined; and therein our said COURT OF APPEALS made its orders in these words:


THIS CAUSE came on to be heard on joint motion of appellant and the State to withdraw the appeal and
the same being considered, because it is the opinion of this Court that the same should be granted:  it is
ORDERED, ADJUDGED and DECREED by the Court that appellant be allowed to withdraw notice of
appeal and that the appeal be dismissed; and it appearing that the appellant is indigent and unable to pay
costs, that no adjudication as to costs is made; and that this decision be certified below for observance.


	WHEREFORE, We command you to observe the order of said COURT OF APPEALS in this
behalf and in all things have it duly recognized, obeyed and executed.

 

					WITNESS the HONORABLE JIMMY CARROLL, Chief Justice
of our said COURT OF APPEALS for the Third District of Texas,
with the seal thereof annexed, at the City of Austin, this the 12th
day of August A.D. 1992.


					W. KENNETH LAW, CLERK




					by:&nbsp;                                          , Deputy

					&nbsp;    &nbsp;Ora Aranda








August 12, 1992






Mrs. Emma Jean Schulle

District Clerk

Caldwell County Courthouse

P. O. Box 749

Lockhart, Texas  78644


					Re:	No. 3-92-274-CR--Mark Andrew Neathery v. State
of Texas

						(t/c no. 91-242)


Dear Mrs. Schulle:


Enclosed, with reference to the above cause, is the mandate of this Court.  Please acknowledge
your receipt of same by returning the enclosed card to this office, appropriately completed.


Your cooperation in this regard is appreciated.


						Very truly yours,


						W. KENNETH LAW, CLERK



						by

							Ora Aranda, Deputy


Enclosures to Clerk


xc:	Mr. George T. Dunn

	Honorable Charles R. Kimbrough


